Case 2:16-cv-O4536-ES-|\/|AH Document 66 Filed 03/23/18 Page 1 of 1 Page|D: 879

 

CARMAGNOLA & R|TARD|, LLC
ATTORNEVS AT LAW

 

DOMENICK CARMAGNOLA
Ccrtif,cd Civil 1531 _\ttomcy 60 wAsHlNGToN sTREET, MoRRlsTowN, NJ 07960
dcarmngnola@cr-law.nct T. 973.267.4445 F. 973.267.4456
www.cr-law.net
March 23, 2018
Via ECF

Hon. William J. Martini, U.S.D.J.

U.S. District Court, District of New Jersey
M.L. King Jr. Federal Building & Courthouse
50 Walnut Street - Room 4076

Newark, NJ 07102

Re: Michael Cioffi v. Borough of Englewood Cliffs, Mario M. Kranjac, Carrol
McMorrow, Nunzio Consalvo, and Mark Park.
Docket No.: 2:16-cv-04536-WJM-MF

Dear Judge Martini:

This firm is counsel for Defendants, the Borough of Englewood Cliffs, Nunzio Consalvo, and
Mark Park, in the above-referenced matter. We write in response to the Court’s letter of February 28,
2018 (ECF #56), disclosing Richard Malagiere’s prior representation of Your Honor in a trademark
matter. After reviewing this matter with our clients, we respectfully join in the request of co-
Defendant, Carrol McMorrow, through Eric Harrison’s letter of March 16, 2018 (ECF #65), requesting
this matter be transferred to a different Judge.

We thank the Court for its consideration of this request
Respectfully submitted,
CARMAGNOLA & RITARDI, LLC

/s/ Domenick Carmagnola
DOMENICK CARMAGNOLA
A Member of the Firrn
DC:mz
cc: Richard Malagiere, Esq. (via ECF)
Eric L. Harrison, Esq. (via ECF)
Joseph Tripodi, Esq. (via ECF)
Robert L. Galantucci, Esq. (via ECF)

